IN THE UNITED STATES DISTRICT COURT
FOR THE NORTHERN DISTRICT OF TEXAS 202] JUN ~§ PH 3:39
FORT WORTH DIVISION

AEB GT Yy ai cay ~<Sfe _
UNITED STATES OF AMERICA
v. Case No. 4:23-CR-061-Y

{Supersedes Indictment returned on March 8,
2023, as to defendant Kirkland (02) only.|

MARK ANTHONY KIRKLAND (02)

SUPERSEDING INFORMATION

The United States Attorney Charges:
Count One

Conspiracy to Possess with Intent to Distribute a Controlled Substance
(Violation of 21 U.S.C. § 846)

Beginning in or before December 2021, and continuing until in and around March
2022, in the Fort Worth Division of the Northern District of Texas, and elsewhere,
defendant Mark Anthony Kirkland, along with others known and unknown, did
knowingly and intentionally combine, conspire, confederate, and agree to engage in
conduct in violation of 21 U.S.C §§ 841(a)(1) and (b)(1)(C), namely to possess with
intent to distribute a mixture and substance containing a detectable amount of

Methamphetamine, a Schedule II controlled substance.

Superseding Information - Page i
Case 4:23-cr-00061-Y' Document 44 Filed 06/06/23 Page 2 of2 PagelD 83

In violation of 21 U.S.C. § 846 (21 U.S.C. §§ 841(a)(1) and (b)(1)(C)).

Superseding Information - Page 2

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